          Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 1 of 43




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                         §
 In re:                                                  §            Chapter 11
                                                         §
 INSTANT BRANDS ACQUISITION                              §            Case No. 23-90716 (DRJ)
 HOLDINGS INC., et al.,                                  §
                                                         §
                   Debtors.1                             §            (Jointly Administered)
                                                         §

    NOTICE OF PROPOSED ASSUMPTION AND ASSIGNMENT OF EXECUTORY
      CONTRACTS AND UNEXPIRED LEASES AND CURE AMOUNTS AND
         SUPPLEMENTAL ASSUMPTION AND ASSIGNMENT NOTICE

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) each filed a voluntary petition for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) on June 12, 2023.

        PLEASE TAKE FURTHER NOTICE that, on June 30, 2023, the Debtors filed a motion
(the “Motion”) 2 with the Court seeking entry of orders, among other things, approving
(a) procedures for the solicitation of bids in connection with the Sale Transaction and the Auction
(the “Bidding Procedures”), (b) the form and manner of notice related to the Sale Transaction,
and (c) procedures for the assumption and assignment of contracts and leases in connection with
the Sale Transaction (the “Assumption and Assignment Procedures”).

        PLEASE TAKE FURTHER NOTICE that, on July 12, 2023, the Court entered the
Order (I) Approving Bidding Procedures For Sale of Debtors’ Assets, (II) Authorizing Potential
Selection of Stalking Horse Bidder(s), (III) Approving Bid Protections, (IV) Scheduling Auction
For, and Hearing to Approve, Sale of Debtors’ Assets, (V) Approving Form and Manner of Notices
of Sale, Auction, and Sale Hearing, (VI) Approving Assumption and Assignment Procedures, and
(VII) Granting Related Relief [Docket No. 253] (the “Bidding Procedures Order”) approving,


          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers or registration numbers in the applicable jurisdictions, are as follows:
Instant Brands (Texas) Inc. (2526); Instant Brands Acquisition Holdings Inc. (9089); Instant Brands Acquisition
Intermediate Holdings Inc. (3303); Instant Brands Holdings Inc. (3318); URS-1 (Charleroi) LLC (7347); Instant
Brands LLC (0566); URS-2 (Corning) LLC (8085); Corelle Brands (Latin America) LLC (8862); EKCO Group, LLC
(7167); EKCO Housewares, Inc. (0216); EKCO Manufacturing of Ohio, Inc. (7300); Corelle Brands (Canada) Inc.
(5817); Instant Brands (Canada) Holding Inc. (4481); Instant Brands Inc. (8272); and Corelle Brands (GHC) LLC
(9722). The address of the debtors’ corporate headquarters is 3025 Highland Parkway, Suite 700, Downers Grove, IL
60515.
        2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion or the Notice of Auction Results (as defined herein), as applicable.




                                                         1
       Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 2 of 43




among other things, the Bidding Procedures, which establish the key dates and times related to the
Sale Transaction, the Auction, and the Assumption and Assignment Procedures.

       PLEASE TAKE FURTHER NOTICE that, on September 18, 2023, the Debtors held the
Auction at the offices of Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New
York 10017. The Auction was continued on September 22, 2023 at 3:00 p.m. (prevailing Eastern
Time).

       PLEASE TAKE FURTHER NOTICE that, on September 28, 2023, the Debtors filed a
Notice of Auction Results and Scheduled Sale Hearing [Docket No. 611] (the “Notice of Auction
Results”) identifying IB Housewares US Holdings, LLC/IB Housewares Canada Holdings, Inc.
and IB Appliances US Holdings, LLC/IB Appliances Canada Holdings, Inc., all of which are
sponsored by Centre Lane Partners V, L.P. (collectively, “Centre Lane”), as the Successful
Bidders for the Debtors’ Housewares Business and Appliances Business, respectively.

        PLEASE TAKE FURTHER NOTICE that, upon the closing of each Sale Transaction
for the Housewares Business and Appliances Business, the Debtors intend to assume and assign
to the applicable Centre Lane entities, as the Successful Bidders, the Proposed Assumed Contracts
in accordance with the Housewares Asset Purchase Agreement and the Appliances Asset Purchase
Agreement (collectively, the “Asset Purchase Agreements”), as applicable. A schedule listing
the Proposed Assumed Contracts relating to the Houseware Asset Purchase Agreement (the
“Proposed Housewares Assumed Contracts Schedule”) is attached hereto as Exhibit A and a
schedule listing the Proposed Assumed Contracts relating to the Appliances Asset Purchase
Agreement (the “Proposed Appliances Assumed Contracts Schedule” and, together with the
Proposed Housewares Assumed Contracts Schedule, the “Proposed Assumed Contracts
Schedules”) is attached hereto as Exhibit B, both of which may also be accessed free of charge
on the Debtors’ case information website located at https://dm.epiq11.com/InstantBrands or can
be requested by e-mail at InstantBrandsInfo@epiqglobal.com. In addition, the “Cure Costs,” if
any, necessary for the assumption and assignment of the Proposed Assumed Contracts are set forth
on the Proposed Assumed Contracts Schedules. Each Cure Cost listed on the Proposed Assumed
Contracts Schedules represents all liabilities of any nature of the Debtors arising under an
Assumed Contract or Assumed Lease prior to the closing of the Sale Transaction, or other
applicable date upon which such assumption and assignment will become effective, whether
known or unknown, whether due or to become due, whether accrued, absolute, contingent, or
otherwise, so long as such liabilities arise out of or relate to events occurring prior to the closing
of the Sale Transaction or other applicable date upon which such assumption and assignment
will become effective; provided, however, that a number of Counterparties (the “Objecting
Counterparties”) have filed Cure Objections and/or informally contacted the Debtors or their
professionals (a) advising that certain contracts or leases may have been inappropriately
included on or excluded from the (i) Potential Assumed Contracts Schedule filed July 25, 2023
[Docket No. 294] and/or (ii) the First Amended Potential Assumed Contracts Schedule filed on
August 31, 2023 [Docket No. 492] (together, the “Potential Assumed Contracts Schedule”) and
(b) asserting different amounts for their respective Cure Costs, and the rights of such Objecting
Counterparties and the Debtors are preserved without prejudice.

       PLEASE TAKE FURTHER NOTICE that a schedule listing Proposed Assumed
Contracts that were either (a) not included in either Potential Assumed Contracts Schedule or

                                                  2
       Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 3 of 43




(b) the Cure Costs associated with such required updating to reflect (i) payments made on account
of prepetition obligations pursuant to orders entered by the Court or (ii) invoices on account of
prepetition goods delivered or services provided that the Debtors processed subsequent to the filing
of the First Amended Potential Assumed Contracts Schedule, is attached hereto as Exhibit C.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Assumption and Assignment
Procedures, objections to the potential assumption and assignment of an Assumed Contract or
Assumed Lease by a party whose contract or lease is listed on Exhibit C with respect to the ability
of the Successful Bidders to provide adequate assurance of future performance or relating to the
Cure Costs must (a) be in writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, Local
Rules, and Complex Procedures, (c) state, with specificity, the legal and factual bases thereof
(including, if applicable, the Cure Costs that the Counterparty believes are required to cure
monetary defaults under the relevant cure monetary defaults under the relevant Assumed Contract
or Assumed Lease and (d) by no later than October 12, 2023 at 4:00 p.m. (prevailing Central
Time) (the “Objection Deadline”), (i) be filed with the Court and (ii) be served on (1) counsel to
the Debtors, (y) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York
10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Joanna McDonald and (z) Haynes &
Boone, LLP, 1221 McKinney Street, Suite 4000, Houston, Texas 77010, Attn: Charles A.
Beckham, Jr., Arsalan Muhammad, and David A. Trausch, (2) counsel to the Term DIP Agent,
Ropes & Gray LLP, 1211 Avenue of the Americas, New York, New York 10036, Attn: Mark
Somerstein and Patricia Chen, (3) counsel to the ABL DIP Agent, Skadden, Arps, Slate, Meagher
& Flom LLP, 155 N. Wacker Drive, Chicago, Illinois 60606, Attn: James J. Mazza, Jr. and Robert
E. Fitzgerald, (4) counsel to the Committee, DLA Piper LLP (US), 1251 Avenue of the Americas,
27th Floor, New York, New York 10020, Attn: Dennis O’Donnell and Oksana Lashko, (5) the
U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002, Attn: Jayson B. Ruff and Vianey
Garza; and (6) counsel to the Successful Bidders, Jones Day, 250 Vesey Street, New York, New
York 10281, Attn: Thomas Wearsch and Genna Ghaul. For the avoidance of doubt, nothing in
this notice extends the deadline to object to any Counterparty whose contract or lease is not listed
on Exhibit C.

       PLEASE TAKE FURTHER NOTICE that the financial and other information
supporting Centre Lane’s, as the Successful Bidder for both the Housewares Business and
Appliances Business, ability to comply with the requirements of adequate assurance of future
performance under section 365(f)(2)(B) of the Bankruptcy Code, including Centre Lane’s financial
wherewithal and willingness to perform under any contracts and leases that are assumed and
assigned to the applicable Successful Bidder in accordance with the Asset Purchase Agreements,
is being provided to all Counterparties listed on either the First Amended Potential Assumed
Contracts Schedule filed on August 31, 2023 [Docket No. 492] or Exhibit C hereto,
contemporaneously with the filing and service of this notice.

        YOU ARE RECEIVING THIS NOTICE BECAUSE YOU HAVE BEEN
IDENTIFIED AS A COUNTERPARTY TO A PROPOSED ASSUMED CONTRACT.
Under the terms of the Assumption and Assignment Procedures and Asset Purchase Agreements,
(a) at or prior to the closing of a Sale Transaction, the applicable Successful Bidder may elect, in
its sole and absolute discretion, (i) to exclude any contract or lease on the Proposed Assumed
Contracts Schedule as an Assumed Contract or Assumed Lease, as applicable (in which case it


                                                 3
       Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 4 of 43




shall become an Excluded Contract or Excluded Lease, as applicable), or (ii) to include on the
Proposed Assumed Contracts Schedule any contract or lease listed on the Potential Assumed
Contracts Schedule, by providing to the Debtors written notice of its election to exclude or include
such contract or lease, as applicable, (b) if the Debtors identify or a Successful Bidder identifies
during the pendency of the Chapter 11 Cases (before or within 60 days after the closing of the
applicable Sale Transaction) any contract or lease that is not listed on the applicable Proposed
Assumed Contracts Schedule, and such contract or lease has not been rejected by the Debtors, such
Successful Bidder may in its sole and absolute discretion elect by written notice to the Debtors to
treat such contract or lease as an Assumed Contract or Assumed Lease, as applicable, and the
Debtors shall seek to assume and assign such Assumed Contract or Assumed Lease in accordance
with the Assumption and Assignment Procedures and the Asset Purchase Agreements, (c) if a
Successful Bidder identifies (within 60 days after the closing of the applicable Sale Transaction)
any contract or lease on the Proposed Assumed Contracts Schedule as an Assumed Contract or
Assumed Lease, as applicable, where (i) the Court determines (or the parties otherwise agree) that
the actual Cure Costs exceed the Cure Costs estimated by the Debtors or (ii) a timely filed or
asserted objection to a Cure Cost or to the Successful Bidder’s assumption and assignment of a
Contract, in each case that was asserted prior to the Closing Date, remains unresolved or is resolved
in a manner unsatisfactory to the Successful Bidder, in each case as determined by the Successful
Bidder in its sole discretion, such Successful Bidder may in its sole and absolute discretion elect
by written notice to the Debtors to treat such contract or lease as an Excluded Contract or Excluded
Lease, as applicable, and (d) following the Auction, the Debtors may, in accordance with the
applicable Asset Purchase Agreement, or as otherwise agreed by the Debtors and the applicable
Successful Bidder, at any time before the closing of the Sale Transaction, modify the previously-
stated Cure Costs associated with any Proposed Assumed Contract. The Assumption and
Assignment Procedures further provide that any Counterparty whose previously-stated Cure Cost
is modified will receive notice thereof and an opportunity to file a Supplemental Assumption and
Assignment Objection. The assumption and assignment of the Proposed Assumed Contracts
on the Proposed Assumed Contracts Schedules is not guaranteed and is subject to approval
by the Court and the Debtors’ or the applicable Successful Bidder’s right to remove an
Assumed Contract or Assumed Lease from the applicable Proposed Assumed Contracts
Schedule.

       PLEASE TAKE FURTHER NOTICE that a hearing to consider the proposed Sale
Transactions, including the assumption and assignment of the Contracts and Leases on the
Proposed Assumed Contracts Schedules, will be held before the Court on October 3, 2023 at 4:00
p.m. (prevailing Central Time). Parties may appear in person or by remote participation at the
Sale Hearing. Those who wish to appear in person may do so at Courtroom 400, 515 Rusk
Street, Houston, TX 77002. For those who wish to participate remotely, the audio
communication will be by use of the Court’s dial-in facility. You may access the facility at 832-
917-1510. Once connected, you will be asked to enter the conference room number. Judge Jones’s
conference room number is 205691. Video communication will be by use of the GoToMeeting
platform. Connect via the free GoToMeeting application or click the link on Judge Jones’s home
page (https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-david-r-jones). The
meeting code is “Judge Jones.” Click the settings icon in the upper right corner and enter your
name under the personal information setting.




                                                 4
       Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 5 of 43




                              Obtaining Additional Information

        Copies of the Motion, the Bidding Procedures Order, and the Notice of Auction Results,
as well as all related exhibits (including the Bidding Procedures) and all other documents filed
with the Court, are available free of charge on the Debtors’ case information website located at
https://dm.epiq11.com/InstantBrands        or    can     be    requested     by     e-mail    at
InstantBrandsInfo@epiqglobal.com.

        CONSEQUENCES OF FAILING TO TIMELY ASSERT AN OBJECTION

        Any Counterparty to an Assumed Contract or Assumed Lease who failed or fails to timely
make an objection to the proposed assumption and assignment of such contract or lease on or
before the applicable Objection Deadline in accordance with the Assumption and Assignment
Procedures and the Bidding Procedures Order shall be deemed to have consented with respect
to the ability of the Successful Bidders to provide adequate assurance of future performance
(and the Debtors’ asserted Cure Costs, to the extent modified from the previously-stated amount)
and shall be forever barred from asserting any objection or claims against the Debtors, the
Successful Bidders, or the property of any such parties relating to the assumption and
assignment of such contract or lease (including asserting additional Cure Costs with respect to
such contract or lease). Notwithstanding anything to the contrary in such contract or lease, or
any other document, the Cure Costs set forth on the Proposed Assumed Contracts Schedules
shall be controlling and will be the only amount necessary to cure outstanding defaults under
the applicable Assumed Contract or Assumed Lease under section 365(b) of the Bankruptcy
Code arising out of or related to any events occurring prior to the closing of the applicable Sale
Transaction or other applicable date upon which such assumption and assignment will become
effective, whether known or unknown, whether due or to become due, whether accrued,
absolute, contingent, or otherwise, so long as such liabilities arise out of or relate to events
occurring prior to the closing of the applicable Sale Transaction or other applicable date upon
which such assumption and assignment will become effective.




                       [Remainder of This Page Intentionally Left Blank]




                                                5
         Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 6 of 43




Dated:    September 28, 2023
          Houston, Texas


                                        HAYNES AND BOONE, LLP

                                        /s/ Charles A. Beckham, Jr.
                                        Charles A. Beckham, Jr. (TX Bar No. 02016600)
                                        Arsalan Muhammad (TX Bar No. 24074771)
                                        David A. Trausch (TX Bar No. 24113513)
                                        1221 McKinney Street, Suite 4000
                                        Houston, Texas 77010
                                        Tel.: (713) 547-2000
                                        Email: charles.beckham@haynesboone.com
                                               arsalan.muhammad@haynesboone.com
                                               david.trausch@haynesboone.com

                                        -and-

                                        DAVIS POLK & WARDWELL LLP

                                        Brian M. Resnick (admitted pro hac vice)
                                        Steven Z. Szanzer (admitted pro hac vice)
                                        Joanna McDonald (admitted pro hac vice)
                                        450 Lexington Avenue
                                        New York, New York 10017
                                        Tel.: (212) 450-4000
                                        Email: brian.resnick@davispolk.com
                                               steven.szanzer@davispolk.com
                                               joanna.mcdonald@davispolk.com

                                        Counsel to the Debtors and Debtors in Possession




                                         6
Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 7 of 43




                            Exhibit A

          Proposed Housewares Assumed Contracts Schedule
                                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 8 of 43




    #1           Debtor               Counterparty                                      Agreement Type                     Agreement                       Cure Cost2                  Business
                  Entity                                                                                                   Description
  131         Instant                 BLUE CROSS AND BLUE                               Service and Supply                 Updated 2022 to                 $0.00                     Housewares
              Brands                  SHIELD OF ILLINOIS                                Agreements                         2024 Medical PPO                                          and
              Holdings Inc.           300 EAST RANDOLPH                                                                    PG Exhibit                                                Appliances
                                      CHICAGO, IL 60601-5099
  132         Instant                 BLUE CROSS AND BLUE                               Service and Supply                 Administrative                  $0.00                     Housewares
              Brands                  SHIELD OF ILLINOIS                                Agreements                         Services                                                  and
              Holdings Inc.           300 EAST RANDOLPH                                                                    Agreement                                                 Appliances
                                      CHICAGO, IL 60601-5099
  133         Instant                 Blue Cross and Blue Shield of                     Service and Supply                 Benefit Program                 $0.00                     Housewares
              Brands                  Illinois                                          Agreements                         Application                                               and
              Holdings Inc.           300 EAST RANDOLPH                                                                    Addendum                                                  Appliances
                                      CHICAGO, IL 60601-5099
  136         Instant                 BMO Harris Equipment                              Financial                          Continuing                      $0.00                     Housewares
              Brands                  Finance Company                                   Agreements                         Guaranty
              Holdings Inc.           250 E. WISCONSIN AVE.,
                                      SUITE 400
                                      MILWAUKEE, WI 53202
  137         Instant                 BMO Harris Equipment                              Service and Supply                 Master Lease of                 $0.00                     Housewares
              Brands                  Finance Company                                   Agreements                         Personal Property
              Holdings Inc.           250 E. WISCONSIN AVE.,                                                               Closing Package
                                      SUITE 400
                                      MILWAUKEE, WI 53202




           1
             The numbers in this column identifying the contracts and leases listed on this schedule refer to the corresponding numbers for such contracts and leases set forth on the First Amended
Potential Assumed Contracts Schedule attached to the Notice of First Amended Scheduled of Potential Assumption and Assignment of Executory Contracts or Unexpired Leases and Cure Amount
[Docket No. 492].

           2
             Cure Costs comprise prepetition amounts owed as of June 11, 2023 on account of the Counterparties' contracts or leases according to the Debtors' books and records modified to reflect (i)
invoices for prepetition goods delivered or services provided that the Debtors processed subsequent to June 11, 2023 and (ii) payments made on account of prepetition obligations pursuant to orders
entered by the Court.
                   Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 9 of 43




#1       Debtor    Counterparty                 Agreement Type       Agreement           Cure Cost2    Business
          Entity                                                     Description
138   Instant      BMO Harris Equipment         Service and Supply   Master Lease of     $0.00        Housewares
      Brands LLC   Finance Company              Agreements           Personal Property
                   250 E. WISCONSIN AVE.,
                   SUITE 400
                   MILWAUKEE, WI 53202
150   Instant      Bureau Veritas Consumer      Service and Supply   Consumer Product    $69,127.00   Housewares
      Brands LLC   Products Services Shenzhen   Agreements           Services                         and
                   Co., Ltd                                          Inspection                       Appliances
                   Rm#301, 3/F, South Tower                          Agreement
                   Huale Building, No. 55-57,
                   Huale Road
                   Yuexiu District
                   GUANGZHOU 510060
                   CHINA
182   Instant      Chickasaw Electric           Service and Supply   Agreement for the   $94,939.63   Housewares
      Brands LLC   Cooperative                  Agreements           Purchase of Power
                   17970 HIGHWAY 64
                   SOMERVILLE, TN 38068
183   Instant      Chickasaw Electric           Service and Supply   Investment Credit   $0.00        Housewares
      Brands LLC   Cooperative                  Agreements           Agreement
                   17970 HIGHWAY 64
                   SOMERVILLE, TN 38068
205   Instant      Columbia Gas of              Service and Supply   Distribution        $27,719.00   Housewares
      Brands LLC   Pennsylvania, Inc.           Agreements           Agreement 2013
                   290 W. NATIONWIDE
                   BLVD
                   ATTN: GAS
                   TRANSPORTATION
                   COLUMBUS, OH 43215




                                                       2
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 10 of 43




   #1            Debtor              Counterparty                                      Agreement Type                     Agreement                      Cure Cost2                  Business
                  Entity                                                                                                  Description
  2183        Instant                Constellation NewEnergy, Inc.                     Service and Supply                 Master Electricity             $1,212,739.68 Housewares
              Brands LLC             1221 LAMAR ST.                                    Agreements                         Supply Agreement
                                     SUITE 750
                                     HOUSTON, TX 77010
  2474        Instant                Corning Inc.                                      Service and Supply                 Amendment No. 2                $0.00                    Housewares
              Brands LLC             25805 NETWORK PLACE                               Agreements                         to Metals
                                     CHICAGO, IL 60673-1258                                                               Fabrication
                                                                                                                          Services
                                                                                                                          Agreement
  2484        Instant                Corning Incorporated                              Service and Supply                 Fourth                         $0.00                    Housewares
              Brands LLC             25805 NETWORK PLACE                               Agreements                         Amendment to
                                     CHICAGO, IL 60673-1258                                                               Metals Fabrication
                                                                                                                          Agreement
  2494        Instant                CORNING INCORPORATED Service and Supply                                              Metals Fabrication             $755,340.04              Housewares
              Brands LLC             25805 NETWORK PLACE    Agreements                                                    Services
                                     CHICAGO, IL 60673-1258                                                               Agreement
  2504        Instant                CORNING INCORPORATED Financial                                                       Restated Shared                $0.00                    Housewares
              Brands LLC             25805 NETWORK PLACE    Agreements                                                    Facilities
                                     CHICAGO, IL 60673-1258                                                               Agreement
  251         Instant                Corning Natural Gas Company                       Service and Supply                 Negotiated        $22,035.88                            Housewares
              Brands LLC             ATTN: STANLEY G. SLEVE                            Agreements                         Transportation
                                     VICE PRESIDENT -                                                                     Service Agreement
                                     ADMINISTRATION
                                     330 WEST WILLIAMS


            3
              The Counterparty, Constellation New Energy, contacted Debtors' counsel to dispute the Cure Costs proposed in the Original Potential Assumed Contracts Schedule and asserted Cure Costs
in the aggregate amount of $1,263,306.56 as asserted in Claim 10175. The Debtors are in the process of reconciling these Cure Costs with the Counterparty and all rights are reserved.

           4
             The Counterparty, Corning, Inc., filed objections [Docket Nos. 409 and 527] asserting Cure Costs in the aggregate amount of $800,617.36. The Debtors are in the process of reconciling
these Cure Costs with the Counterparty and all rights are reserved.




                                                                                                  3
                         Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 11 of 43




   #1         Debtor     Counterparty              Agreement Type       Agreement           Cure Cost2    Business
              Entity                                                    Description
                         STREET
                         CORNING, NY 14830

  252       Instant      Corning Natural Gas       Service and Supply   Amendment No 3      $0.00        Housewares
            Brands LLC   Corporation               Agreements           to Transportation
                         ATTN: RUSSELL S. MILLER                        Services
                         330 WEST WILLIAM                               Agreement
                         STREET
                         CORNING, NY 14830
  253       Instant      Corning Natural Gas       Service and Supply   Natural Gas         $0.00        Housewares
            Brands LLC   Corporation               Agreements           Amendment 4
                         ATTN: RUSSELL S. MILLER
                         330 WEST WILLIAM
                         STREET
                         CORNING, NY 14830
 2544       Instant      Corning, Inc.             Service and Supply   Amendment 1 to      $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE       Agreements           Corning Metals
                         CHICAGO, IL 60673-1258                         Fabrication
                                                                        Agreement
255Erro Instant          Corning, Inc.             Service and Supply   Amendment 3 to      $0.00        Housewares
  r!
        Brands LLC       25805 NETWORK PLACE       Agreements           Corning Metals
Bookmark
                         CHICAGO, IL 60673-1258                         Fabrication
   not
 defined.
                                                                        Agreement
  275       Instant      CP Logistics Marshall     Real Property        First Amendment     $0.00        Housewares
            Brands LLC   Building 7, LLC           Leases               to Lease (MMDC)
                         C/O MOYE WHITE LLP
                         ATTEN: DOMINICK
                         SEKICH
                         1400 16TH STREET, SUITE



                                                          4
                   Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 12 of 43




#1      Debtor     Counterparty               Agreement Type       Agreement         Cure Cost2    Business
        Entity                                                     Description
                   600
                   DENVER, CO 80202

276   Instant       CP Logistics Marshall     Real Property        Second            $0.00        Housewares
      Brands LLC    Building 7, LLC           Leases               Amendment to
                    C/O MOYE WHITE LLP                             Lease (MMDC)
                    ATTEN: DOMINICK
                    SEKICH
                    1400 16TH STREET, SUITE
                    600
                    DENVER, CO 80202
277   Instant       CP Logistics Marshall     Real Property        Guaranty from     $0.00        Housewares
      Brands        Building 7, LLC,          Leases               Corelle Brands
      Holdings Inc. C/O MOYE WHITE LLP                             Holdings Inc.
                    ATTEN: DOMINICK
                    SEKICH
                    1400 16TH STREET, SUITE
                    600
                    DENVER, CO 80202
278   Instant       CP Logistics Marshall     Real Property        Lease Agreement   $0.00        Housewares
      Brands LLC Building 7, LLC,             Leases               (MMDC)
                    C/O MOYE WHITE LLP
                    ATTEN: DOMINICK
                    SEKICH
                    1400 16TH STREET, SUITE
                    600
                    DENVER, CO 80202
299   Instant       Curzon Company            Service and Supply   Sales             $869.38      Housewares
      Brands LLC 7110 SW BEVELAND             Agreements           Representative                 and
                    STREET                                         Agreement                      Appliances
                    TIGARD, OR 97223


                                                     5
                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 13 of 43




#1       Debtor       Counterparty                   Agreement Type       Agreement          Cure Cost2     Business
          Entity                                                          Description
311   Instant         DemandPDX LLC                  Service and Supply   Services           $77,718.29    Housewares
      Brands LLC      ATTN: CHRIS                    Agreements           Agreement                        and
                      BERGEMANN                                                                            Appliances
                      1000 S.W. BROADWAY
                      SUITE 1140
                      PORTLAND, OR 97205
337   Instant         DISNEY CONSUMER                License Agreements   5th Amendment to   $55,149.41    Housewares
      Brands          PRODUCTS, INC.                                      Schedule to
      Holdings Inc.   500 S. BUENA VISTA ST.                              License
                      BURBANK, CA 91521                                   Agreement
448   Instant         Genesis Energy, LP (d/b/a      Service and Supply   Amendment to       $158,128.26   Housewares
      Brands LLC      Genesis Alkali)                Agreements           2005 Supply
                      1735 Market Street                                  Agreement
                      PHILADELPHIA, PA 19103
452   Instant         Gileno Distribution Services   Real Property        Amendment 3 to     $0.00         Housewares
      Brands          7130 SYCAMORE CANYON           Leases               Sublease (Eff.                   and
      Holdings Inc.   BIVD.                                               Date 2023 02 01)                 Appliances
                      SUITE A
                      RIVERSIDE, CA 92508
453   Instant         Gileno Distribution Services   Real Property        Amendment 1 to     $0.00         Housewares
      Brands          7130 SYCAMORE CANYON           Leases               Sublease                         and
      Holdings Inc.   BIVD.                                                                                Appliances
                      SUITE A
                      RIVERSIDE, CA 92508
454   Instant         Gileno Distribution Services   Real Property        Sublease Parking   $0.00         Housewares
      Brands          7130 SYCAMORE CANYON           Leases               Area Riverside                   and
      Holdings Inc.   BIVD.                                                                                Appliances
                      SUITE A
                      RIVERSIDE, CA 92508




                                                            6
                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 14 of 43




#1       Debtor       Counterparty                  Agreement Type       Agreement          Cure Cost2    Business
          Entity                                                         Description
455   Instant       Gileno Distribution Services    Real Property        Sublease           $0.00        Housewares
      Brands        7130 SYCAMORE CANYON            Leases                                               and
      Holdings Inc. BIVD.                                                                                Appliances
                    SUITE A
                    RIVERSIDE, CA 92508
456   Instant       Gileno Distribution Services.   Real Property        SRS-               $0.00        Housewares
      Brands        7130 SYCAMORE CANYON            Leases               INVENTO221130                   and
      Holdings Inc. BIVD.                                                08520                           Appliances
                    SUITE A
                    RIVERSIDE, CA 92508
470   Instant       Guandong Xinbao Electrical      Confidentiality      Non-Disclosure     $0.00        Housewares
      Brands Inc.   Appliances Holdings Co, LTD     Agreements           Agreement                       and
                    LONGZHOU ROAD                                                                        Appliances
                    LELIU TOWN
                    SHUNDE DISTRICT
                    FOSHAN CITY
                    CHINA
525   Instant       IMR Test Labs                   Service and Supply   Services           $20,000.00   Housewares
      Brands LLC 131 WOODSEDGE DR                   Agreements           Agreement
                    LANSING, NY 14882
577   Instant       ITERABLE, INC.                  Service and Supply   Signed contracts   $0.00        Housewares
      Brands LLC    71 STEVENSON ST                 Agreements           for IB                          and
                    SUITE 300                                                                            Appliances
                    SAN FRANCISCO, CA 94105
592   Instant       John Hancock Retirement Plan    Service and Supply   Adoption           $0.00        Housewares
      Brands        Services, LLC                   Agreements           Agreement for                   and
      Holdings Inc. 690 Canton St.                                       OnTarget                        Appliances
                    Westwood, MA 02090                                   Assignment and
                                                                         Amendment




                                                           7
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 15 of 43




    #1           Debtor              Counterparty                                      Agreement Type                     Agreement         Cure Cost2                                Business
                  Entity                                                                                                  Description
  593         Instant                John Hancock Retirement Plan                      Service and Supply                 Service Agreement $0.00                                  Housewares
              Brands                 Services, LLC                                     Agreements                         Assignment and                                           and
              Holdings Inc.          690 Canton St.                                                                       Amendment for                                            Appliances
                                     Westwood, MA 02090                                                                   Retirement Income
                                                                                                                          Plan
  711         Instant       MCPP 191 NORFOLK                                           Real Property                      Third Amendment $0.00                                    Housewares
              Brands LLC    SOUTHERN WAY, LLC                                          Leases                             to Lease (MMDC)
                            (SUCCESSOR TO CP
                            LOGISTICS MARSHALL
                            BUILDING 7, LLC)
                            191 NORFOLK SOUTHERN
                            WAY
                            BYHALIA, MS 38611
  820         Instant       Oracle America, Inc.                                       Service and Supply                 Ordering                        $59,462.45               Housewares
              Brands        500 ORACLE PARKWAY                                         Agreements                         Document                                                 and
              (Canada)      REDWOOD SHORES, CA                                                                                                                                     Appliances
              Holding Inc. 94065
  918         Instant       Quick Hand Logistics Inc.                                  Real Property                      2325 Cottonwood $0.00                                    Housewares
              Brands        1420 E. COOLEY DR. SUITE                                   Leases                             Avenue, Riverside,                                       and
              Holdings Inc. 206                                                                                           CA - Sublease                                            Appliances
                            ATTENTION: JUAN C.                                                                            (Execution)
                            RODRIGUEZ
                            COLTON, CA 92324
  9905        Instant       salesforce.com, inc.                                       IT Agreements                      Commerce Cloud                  $31,894.00               Housewares
              Brands LLC ATTN: TODD MACHTMES,                                                                                                                                      and
                            GENERAL COUNSEL                                                                                                                                        Appliances
                            415 MISSION STREET, 3RD


           5
             The Counterparty, Salesforce, Inc., contacted Debtors' counsel to dispute the Cure Costs proposed in the Original Potential Assumed Contracts Schedule and asserted Cure Costs in the
aggregate amount of $478,031.36. The Debtors are in the process of reconciling these Cure Costs with the Counterparty and all rights are reserved.




                                                                                                   8
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 16 of 43




 #1      Debtor     Counterparty              Agreement Type       Agreement         Cure Cost2    Business
         Entity                                                    Description
                    FLOOR
                    SAN FRANCISCO, CA 94105


1005   Instant      Sara Shakeel Limited      License Agreements   Joint Promotion   $0.00        Housewares
       Brands LLC   ATTN: SARA SHAKEEL &                           Agreement                      and
                    ANUM BASHIR                                                                   Appliances
                    PRINCIPAL TOWERS
                    2702 WORSHIP STREET,
                    SHOREDITCH
                    LONDON EC2A 2FE
                    UNITED KINGDOM
1006   Instant      Sara Shakeel Limited      Service and Supply   Agreement_IB x    $0.00        Housewares
       Brands LLC   ATTN: SARA SHAKEEL &      Agreements           SS                             and
                    ANUM BASHIR                                                                   Appliances
                    PRINCIPAL TOWERS
                    2702 WORSHIP STREET,
                    SHOREDITCH
                    LONDON EC2A 2FE
                    UNITED KINGDOM
1013   Instant      SCMI US INC               Confidentiality      NDA               $0.00        Housewares
       Brands LLC   300 Madison Avenue        Agreements
                    New York, NY 10017
1017   Instant      SCMI US Inc.              Financial            SCMI US Inc. &    $0.00        Housewares
       Brands LLC   300 Madison Avenue        Agreements           BMO -
                    New York, NY 10017                             Intercreditor
                                                                   Agreement




                                                     9
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 17 of 43




 #1       Debtor    Counterparty                  Agreement Type       Agreement           Cure Cost2     Business
           Entity                                                      Description
1024   Instant      Securitas Security Services   Service and Supply   Amendment           $0.00         Housewares
       Brands LLC   USA, Inc.                     Agreements                                             and
                    6327 NORTH AVONDALE                                                                  Appliances
                    2ND FLOOR
                    CHICAGO, IL 60631-1958
1025   Instant      Securitas Security Services   Service and Supply   Master Security     $0.00         Housewares
       Brands LLC   USA, Inc.                     Agreements           Services                          and
                    6327 NORTH AVONDALE                                Agreement                         Appliances
                    2ND FLOOR
                    CHICAGO, IL 60631-1958
1026   Instant      Securitas Security Services   Service and Supply   Service Agreement $0.00           Housewares
       Brands LLC   USA, Inc.                     Agreements           - 2010                            and
                    6327 NORTH AVONDALE                                                                  Appliances
                    2ND FLOOR
                    CHICAGO, IL 60631-1958
1027   Instant      Securitas Securjy Services    Service and Supply   Securitas GN        $0.00         Housewares
       Brands LLC   USA, Inc                      Agreements           010123                            and
                    6327 NORTH AVONDALE                                                                  Appliances
                    2ND FLOOR
                    CHICAGO, IL 60631-1958
1028   Instant      Securitas Services USA Inc    Service and Supply   Securitas           $0.00         Housewares
       Brands LLC   6327 NORTH AVONDALE           Agreements           Riverside 010123                  and
                    2ND FLOOR                                                                            Appliances
                    CHICAGO, IL 60631-1958

1080   Instant      SPRAGUE ENERGY CORP           Service and Supply   Base Contract for   $348,402.58   Housewares
       Brands LLC   ATTN: NATURAL GAS             Agreements           Sale of Natural
                    ADMINISTRATION                                     Gas
                    TWO INTERNATIONAL
                    DRIVE


                                                        10
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 18 of 43




 #1      Debtor     Counterparty              Agreement Type       Agreement            Cure Cost2    Business
         Entity                                                    Description
                    SUITE 200
                    PORTSMOUTH, NH 03801



1083   Instant      SPRAGUE OPERATING         Service and Supply   NG NY Instant        $0.00        Housewares
       Brands LLC   RESOURCES LLC             Agreements           Brands LLC
                    ATTN: NATURAL GAS                              (202521) -
                    ADMINISTRATION                                 202211160002211
                    TWO INTERNATIONAL                              58 CORN-DTI-
                    DRIVE                                          POOL-DM (11-
                    SUITE 200                                      16-22) Market
                    PORTSMOUTH, NH 03801                           Based-Basis Daily
                                                                   0% DM
1084   Instant      SPRAGUE OPERATING         Service and Supply   NY Instant Brands    $0.00        Housewares
       Brands LLC   RESOURCES LLC             Agreements           LLC (203097) -
                    ATTN: NATURAL GAS                              202211160002211
                    ADMINISTRATION                                 58 CORN-DTI-
                    TWO INTERNATIONAL                              POOL-DM (11-
                    DRIVE                                          16-22) Market
                    SUITE 200                                      Based-Fixed Daily
                    PORTSMOUTH, NH 03801                           0% DM
1085   Instant      SPRAGUE OPERATING         Service and Supply   NG NY Trigger        $0.00        Housewares
       Brands LLC   RESOURCES LLC             Agreements           Instant Brands
                    ATTN: NATURAL GAS                              LLC (203097) -
                    ADMINISTRATION                                 202211160002211
                    TWO INTERNATIONAL                              58 CORN-DTI-
                    DRIVE                                          POOL-DM (11-
                    SUITE 200                                      16-22) Trigger 01-
                    PORTSMOUTH, NH 03801                           01-23 to 12-31-23



                                                    11
                                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 19 of 43




    #1           Debtor               Counterparty                                      Agreement Type                      Agreement                       Cure Cost2                  Business
                  Entity                                                                                                    Description
 11146        Instant                 SuccessFactors, Inc.                              IT Agreements                       3062390541 (R)                  $0.00                    Housewares
              Brands LLC              1 TOWER PLACE                                                                         5.17.2023 V1 FRP                                         and
                                      SUITE 1100                                                                            2023 - 2024                                              Appliances
                                      SOUTH SAN FRANCISCO,
                                      CA 94080
 1186         Instant                 U.S. SILICA COMPANY                               Service and Supply                  Amendment to       $0.00                                 Housewares
              Brands LLC              24275 KATY FREEWAY                                Agreements                          Supply and Pricing
                                      SUITE 600                                                                             Agreement
                                      KATY, TX 77494
 1189         Instant                 U.S. SILICA COMPANY                               Service and Supply                  Second             $0.00                                 Housewares
              Brands LLC              24275 KATY FREEWAY                                Agreements                          Amendment to
                                      SUITE 600                                                                             Supply and Pricing
                                      KATY, TX 77494                                                                        Agreement
 12057        Instant                 United Steel, Paper and                           Collective                          2019 Greencastle                Undetermined             Housewares
              Brands LLC              Forestry, Rubber,                                 Bargaining                          Contract
                                      Manufacturing, Energy, Allied                     Agreements
                                      Industrial and Service Workers
                                      International Union, AFL-
                                      CIO-CLC and Local Union
                                      No. 1024
                                      120R East Third Street
                                      Berwick, PA 18603
 1268         Instant                 West Penn Power Company                           Service and Supply                  Electric Service                $39,406.14               Housewares
              Brands LLC              800 CABIN HILL DRIVE                              Agreements                          Tariff


           6
             The Counterparty, SAP America, and its affiliates Concur Technologies, Inc. and SuccessFactors, Inc., contacted Debtors' counsel to dispute the Cure Costs proposed in the Original
Potential Assumed Contracts Schedule. The Debtors have reconciled this amount and have updated the proposed Cure Costs accordingly.

           7
             The Counterparty, United Steel Workers, contacted Debtors' counsel to preserve all rights relating to the collective bargaining agreements, as such Cure Costs will be determined and paid in
the ordinary course.




                                                                                                   12
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 20 of 43




   #1             Debtor             Counterparty                                      Agreement Type                     Agreement                      Cure Cost2                  Business
                  Entity                                                                                                  Description
                                     GREENSBURG, PA 15606-
                                     0001

  1278        Instant       BlackLine Systems, Inc.                                    IT Agreements                      Amendment Order                $0.00                    Housewares
              Brands        21300 VICTORY BLVD.                                                                           Form                                                    and
              Holdings Inc. 12TH FLOOR                                                                                                                                            Appliances
                            ATTN: LEGAL
                            DEPARTMENT
                            WOODLAND HILLS, CA
                            91367
 1295         Instant       Yangjiang Futong Industries                                Service and Supply                 Supply Agreement               $55,894.95               Housewares
              Brands LLC Co.,Ltd                                                       Agreements
                            No.3 Jintian Rd.
                            Nahuo Industrial Zone
                            YangDong
                            YANGJIANG
                            CHINA
 13237        Instant       United Steel, Paper and                                    Collective                         Agreement                      Undetermined             Housewares
              Brands LLC Forestry, Rubber,                                             Bargaining                         between Instant
                            Manufacturing, Energy, Allied                              Agreements                         Brands LLC
                            Industrial and Service Workers                                                                Charleroi Plant
                            International Union (ABG                                                                      and United Steel,
                            Division), AFL-CIO-CLC and                                                                    Paper and
                            Local Union 53G                                                                               Forestry, Rubber,
                            1945 Lincoln Highway                                                                          Manufacturing,
                            NORTH VERSAILLES, PA                                                                          Energy, Allied
                            15137                                                                                         Industrial and
                                                                                                                          Service Workers
          8
            The Counterparty, Blackline Systems Inc., filed an objection [Docket No. 398] asserting Cure Costs in the aggregate amount of $155,000. The Debtors are in the process of reconciling these
Cure Costs with the Counterparty and all rights are reserved.




                                                                                                 13
                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 21 of 43




 #1       Debtor     Counterparty                     Agreement Type       Agreement           Cure Cost2      Business
          Entity                                                           Description
                                                                           International
                                                                           Union (ABG
                                                                           Division), AFL-
                                                                           CIO-CLC and
                                                                           Local Union 53G
13247   Instant      United Steel, Paper and          Collective           Agreement           Undetermined   Housewares
        Brands LLC   Forestry, Rubber,                Bargaining           between Instant
                     Manufacturing, Energy, Allied    Agreements           Brands LLC
                     Industrial and Service Workers                        Corning Plant and
                     International Union (ABG                              United Steel,
                     Division), AFL-CIO-CLC on                             Paper and
                     behalf of its LOCAL 1034                              Forestry, Rubber,
                     812 State Fair Blvd                                   Manufacturing,
                     Suite 7                                               Energy, Allied
                     Syracuse, NY 13209-1320                               Industrial and
                                                                           Service Workers
                                                                           International
                                                                           Union (ABG
                                                                           Division), AFL-
                                                                           CIO-CLC on
                                                                           behalf of its
                                                                           LOCAL 1034
1325    Instant      Bank of Montreal                 Service and Supply   Amended and         $0.00          Housewares
        Brands LLC   320 South Canal Street, Floor    Agreements           Restated Platinum
                     16                                                    Lease Agreement
                     Chicago, IL 60606                                     (including
                                                                           guarantee)
13524   Instant      Corning Inc                      License Agreements   Agreement           $0.00          Housewares
        Brands LLC   25805 NETWORK PLACE                                   Amendment re
                     CHICAGO, IL 60673-1258                                Renewal dated
                                                                           2015 02 06


                                                            14
                         Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 22 of 43




  #1           Debtor    Counterparty              Agreement Type       Agreement            Cure Cost2    Business
                Entity                                                  Description
1353Er      Instant      Corning Inc.              License Agreements   Amendment 2 to       $0.00        Housewares
  ror!
            Brands LLC   25805 NETWORK PLACE                            Technology
Bookmark
                         CHICAGO, IL 60673-1258                         Access Agreement
  not
defined.4
                                                                        dated 2020 01 01
13544       Instant      Corning Inc.              License Agreements   Corning Patent and   $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE                            Know How
                         CHICAGO, IL 60673-1258                         License
                                                                        Agreement dated
                                                                        1998 04 01
13554       Instant      Corning Inc.              License Agreements   Corning Pyrex        $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE                            Trademark
                         CHICAGO, IL 60673-1258                         License
                                                                        Agreement dated
                                                                        1998 04 01
13564       Instant      Corning Inc.              License Agreements   Acknowledge of       $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE                            Confidentiality to
                         CHICAGO, IL 60673-1258                         Corning dated
                                                                        2021 04 08
13574       Instant      Corning Inc.              License Agreements   Renewal Pyrex        $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE                            License
                         CHICAGO, IL 60673-1258                         Agreement dated
                                                                        2018 04 06
13584       Instant      Corning Incorporate       License Agreements   Corning WK Tech      $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE                            Access Agrmt
                         CHICAGO, IL 60673-1258                         dated 2014 02 06
13604       Instant      Corning Incorporated      Service and Supply   Corning Services     $0.00        Housewares
            Brands LLC   25805 NETWORK PLACE       Agreements           for Stormwater
                         CHICAGO, IL 60673-1258                         Improvement
                                                                        Project dated 2017
                                                                        09 07


                                                         15
                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 23 of 43




 #1        Debtor    Counterparty                  Agreement Type       Agreement             Cure Cost2    Business
            Entity                                                      Description
13614   Instant      Corning Incorporated          Service and Supply   Agreement re          $0.00        Housewares
        Brands LLC   25805 NETWORK PLACE           Agreements           stormwater
                     CHICAGO, IL 60673-1258                             improvement
                                                                        project dated 2017
                                                                        07 13
1364    Instant      CPG Retail - Target           Customer             CPG Vendor            $0.00        Housewares
        Brands LLC   THE CREATIVE PARTNERS         Agreements           Agreement Terms                    and
                     GROUP                                              dated 2022 07 14                   Appliances
                     88 SOUTH 10TH ST - STE
                     100
                     MINNEAPOLIS, MN 55403
1371    Instant      DemandPDX LLC                 Service and Supply   Shopify               $0.00        Housewares
        Brands LLC   ATTN: CHRIS                   Agreements           Replatform SOW                     and
                     BERGEMANN                                          v4                                 Appliances
                     1000 S.W. BROADWAY
                     SUITE 1140
                     PORTLAND, OR 97205
1419    Instant      Securitas Security Services   Service and Supply   Addendum Rate         $0.00        Housewares
        Brands LLC   USA, Inc.                     Agreements           Sheet 5 sites dated                and
                     6327 NORTH AVONDALE                                2019 02 04                         Appliances
                     2ND FLOOR
                     CHICAGO, IL 60631-1958
1420    Instant      Securitas Security Services   Service and Supply   Addendum            $0.00          Housewares
        Brands LLC   USA, Inc.                     Agreements           Securitas Charleroi                and
                     6327 NORTH AVONDALE                                dated 2022 01 01                   Appliances
                     2ND FLOOR
                     CHICAGO, IL 60631-1958
1421    Instant      Securitas Security Services   Service and Supply   Byhalia Wage          $0.00        Housewares
        Brands LLC   USA, Inc.                     Agreements           Addendum dated                     and
                     6327 NORTH AVONDALE                                2023 01 01                         Appliances



                                                         16
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 24 of 43




 #1      Debtor     Counterparty              Agreement Type       Agreement           Cure Cost2     Business
         Entity                                                    Description
                    2ND FLOOR
                    CHICAGO, IL 60631-1958

1438   Instant      SCMI US INC               Service and Supply   Amended and         $0.00         Housewares
       Brands LLC   300 Madison Avenue        Agreements           Restated Rhodium
                    New York, NY 10017                             Lease Agreement
                                                                   (including
                                                                   guarantee)
1439   Instant       SCMI US INC              Service and Supply   Amended and         $0.00         Housewares
       Brands        300 Madison Avenue       Agreements           Restated Rhodium
       Holdings Inc. New York, NY 10017                            Lease Agreement
                                                                   (including
                                                                   guarantee)
1441   Instant      Workday, Inc.             Service and Supply   Main Subscription   $217,343.00   Housewares
       Brands LLC   DEPT LA 23246             Agreements           Agreement                         and
                    PASADENA, CA 91706-1300                                                          Appliances
1442   Instant      Workday, Inc.             Service and Supply   Order Form          $0.00         Housewares
       Brands LLC   DEPT LA 23246             Agreements           00345473.0                        and
                    PASADENA, CA 91706-1300                                                          Appliances
1443   Instant       Corning Incorporated     License Agreements   CORNINGWARE $0.00                 Housewares
       Brands        25805 NETWORK PLACE                           and
       Holdings Inc. CHICAGO, IL 60673-1258                        PYROCERAM
                                                                   Trademark
                                                                   License
                                                                   Agreement, dated
                                                                   April 1, 1998,
                                                                   between Corning
                                                                   Incorporated, as
                                                                   Licensor and
                                                                   Corning Consumer


                                                    17
                   Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 25 of 43




#1      Debtor     Counterparty                  Agreement Type       Agreement          Cure Cost2    Business
        Entity                                                        Description
                                                                      Products Company
                                                                      (n/k/a Instant
                                                                      Brands Holdings
                                                                      Inc.), as Licensee
N/A   Instant      The Creative Partners Group   Sales Rep            Independent Sales $7,578.01     Housewares
      Brands LLC                                 Agreement            Representative                  and
                                                                      Agreement dated                 Appliances
                                                                      June 1, 2019, as
                                                                      amended April 1,
                                                                      2020

N/A   Instant      DemandPDX LLC                 Services Agreement   Services          $0.00         Housewares
      Brands LLC                                                      Agreement dated                 and
                                                                      July 11, 2022                   Appliances
                                                                      (Shopify)




                                                       18
Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 26 of 43




                             Exhibit B

           Proposed Appliances Assumed Contracts Schedule
                                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 27 of 43




    #1            Debtor     Counterparty                                                  Agreement                     Agreement                           Cure Cost2                   Business
                   Entity                                                                  Type                          Description
    33        Instant Brands Adaptics Limited                                              IT Agreements                 Babel Subscription                  $0.00                     Appliances
              LLC            ATT: GRAHAM OSULLIVAN
                             THE PRIORY, JOHN STREET
                             WEST
                             DUBLIN 8
                             IRELAND
    34        Instant Brands ADAPTICS LIMITED                                              Confidentiality               NDA                                 $0.00                     Appliances
              Inc.           ATT: GRAHAM OSULLIVAN                                         Agreements
                             THE PRIORY, JOHN STREET
                             WEST
                             DUBLIN 8
                             IRELAND
    35        Instant Brands Adaptics Limited                                              IT Agreements                 SoW 11 - AWS                        $0.00                     Appliances
              LLC            ATT: GRAHAM OSULLIVAN                                                                       Cognito Migration
                             THE PRIORY, JOHN STREET                                                                     and Integration
                             WEST
                             DUBLIN 8
                             IRELAND
    36        Instant Brands ADAPTICS LTD (t/a DROP)                                       IT Agreements                 Connected                           $0.00                     Appliances
              Inc.           ATT: GRAHAM OSULLIVAN                                                                       Appliances
                             THE PRIORY, JOHN STREET                                                                     Collaboration
                             WEST                                                                                        Agreement
                             DUBLIN 8
                             IRELAND


           1
             The numbers in this column identifying the contracts and leases listed on this schedule refer to the corresponding numbers for such contracts and leases set forth on the First Amended
Potential Assumed Contracts Schedule attached to the Notice of First Amended Scheduled of Potential Assumption and Assignment of Executory Contracts or Unexpired Leases and Cure Amount
[Docket No. 492].

           2
             Cure Costs comprise prepetition amounts owed as of June 11, 2023 on account of the Counterparties' contracts or leases according to the Debtors' books and records modified to reflect (i)
invoices for prepetition goods delivered or services provided that the Debtors processed subsequent to June 11, 2023 and (ii) payments made on account of prepetition obligations pursuant to orders
entered by the Court.
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 28 of 43




#1        Debtor     Counterparty                    Agreement       Agreement              Cure Cost2    Business
           Entity                                    Type            Description
37    Instant Brands Adaptics ltd                    IT Agreements   Agreement effective    $0.00        Appliances
      Inc.           ATT: GRAHAM OSULLIVAN                           Jan 1 2022
                     THE PRIORY, JOHN STREET
                     WEST
                     DUBLIN 8
                     IRELAND
131   Instant Brands BLUE CROSS AND BLUE             Service and     Updated 2022 to        $0.00        Housewares
      Holdings Inc. SHIELD OF ILLINOIS               Supply          2024 Medical PPO                    and
                     300 EAST RANDOLPH               Agreements      PG Exhibit                          Appliances
                     CHICAGO, IL 60601-5099
132   Instant Brands BLUE CROSS AND BLUE             Service and     Administrative         $0.00        Housewares
      Holdings Inc. SHIELD OF ILLINOIS               Supply          Services Agreement                  and
                     300 EAST RANDOLPH               Agreements                                          Appliances
                     CHICAGO, IL 60601-5099
133   Instant Brands Blue Cross and Blue Shield of   Service and     Benefit Program        $0.00        Housewares
      Holdings Inc. Illinois                         Supply          Application                         and
                     300 EAST RANDOLPH               Agreements      Addendum                            Appliances
                     CHICAGO, IL 60601-5099
150   Instant Brands Bureau Veritas Consumer         Service and     Consumer Product       $69,127.00   Housewares
      LLC            Products Services Shenzhen      Supply          Services Inspection                 and
                     Co., Ltd                        Agreements      Agreement                           Appliances
                     Rm#301, 3/F, South Tower
                     Huale Building, No. 55-57,
                     Huale Road
                     Yuexiu District
                     GUANGZHOU 510060
                     CHINA
299   Instant Brands Curzon Company                  Service and     Sales Representative   $869.38      Housewares
      LLC            7110 SW BEVELAND                Supply          Agreement                           and
                     STREET                          Agreements                                          Appliances
                     TIGARD, OR 97223


                                                          2
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 29 of 43




#1        Debtor     Counterparty                    Agreement         Agreement             Cure Cost2     Business
           Entity                                    Type              Description
311   Instant Brands DemandPDX LLC                   Service and       Services Agreement    $77,718.29   Housewares
      LLC            ATTN: CHRIS BERGEMANN           Supply                                               and
                     1000 S.W. BROADWAY              Agreements                                           Appliances
                     SUITE 1140
                     PORTLAND, OR 97205
433   Instant Brands FoShan ShunDe Midea             Confidentiality   Non-Disclosure        $0.00        Appliances
      Inc.           Electrical Heating Appliances   Agreements        Agreement
                     Manufacturing Company
                     Limited
                     O.19 SAN LE ROAD BEIJIAO
                     SHUNDE
                     FOSHAN CITY 528311
                     CHINA
451   Instant Brands Get Drop                        IT Agreements     Escrow Agreement      $0.00        Appliances
      Inc.           600 CALIFORNIA STREET
                     14TH FLOOR
                     SAN FRANCISCO, CA 94108
452   Instant Brands Gileno Distribution Services    Real Property     Amendment 3 to        $0.00        Housewares
      Holdings Inc. 7130 SYCAMORE CANYON             Leases            Sublease (Eff. Date                and
                     BIVD.                                             2023 02 01)                        Appliances
                     SUITE A
                     RIVERSIDE, CA 92508
453   Instant Brands Gileno Distribution Services    Real Property     Amendment 1 to        $0.00        Housewares
      Holdings Inc. 7130 SYCAMORE CANYON             Leases            Sublease                           and
                     BIVD.                                                                                Appliances
                     SUITE A
                     RIVERSIDE, CA 92508
454   Instant Brands Gileno Distribution Services    Real Property     Sublease Parking      $0.00        Housewares
      Holdings Inc. 7130 SYCAMORE CANYON             Leases            Area Riverside                     and
                     BIVD.                                                                                Appliances



                                                          3
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 30 of 43




#1       Debtor      Counterparty                    Agreement         Agreement         Cure Cost2    Business
         Entity                                      Type              Description
                     SUITE A
                     RIVERSIDE, CA 92508

455   Instant Brands Gileno Distribution Services    Real Property     Sublease          $0.00        Housewares
      Holdings Inc. 7130 SYCAMORE CANYON             Leases                                           and
                     BIVD.                                                                            Appliances
                     SUITE A
                     RIVERSIDE, CA 92508
456   Instant Brands Gileno Distribution Services.   Real Property     SRS-              $0.00        Housewares
      Holdings Inc. 7130 SYCAMORE CANYON             Leases            INVENTO22113008                and
                     BIVD.                                             520                            Appliances
                     SUITE A
                     RIVERSIDE, CA 92508
470   Instant Brands Guandong Xinbao Electrical      Confidentiality   Non-Disclosure    $0.00        Housewares
      Inc.           Appliances Holdings Co, LTD     Agreements        Agreement                      and
                     LONGZHOU ROAD                                                                    Appliances
                     LELIU TOWN
                     SHUNDE DISTRICT
                     FOSHAN CITY
                     CHINA
471   Instant Brands Guangdon Xinbao Electrical      Service and       3-1 Coffee        $4,233.60    Appliances
      LLC            Appliance Holdings Co., Ltd     Supply            Development
                     LONGZHOU ROAD                   Agreements        Agreement
                     LELIU TOWN
                     SHUNDE DISTRICT
                     FOSHAN CITY
                     CHINA
477   Instant Brands GuangDong Midea Consumer        Service and       Agreement         $0.00        Appliances
      Inc.           Electric Manufacturing          Supply
                     Company Limited                 Agreements
                     O.19 SAN LE ROAD BEIJIAO


                                                          4
                   Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 31 of 43




#1       Debtor     Counterparty                    Agreement         Agreement              Cure Cost2     Business
         Entity                                     Type              Description
                    SHUNDE
                    FOSHAN CITY 528311
                    CHINA
478   Instant Brands GuangDong Midea Consumer       Service and       Supply Agreement       $0.00        Appliances
      LLC            Electric Manufacturing         Supply
                     Company Limited                Agreements
                     O.19 SAN LE ROAD BEIJIAO
                     SHUNDE
                     FOSHAN CITY 528311
                     CHINA
479   Instant Brands Guangdong Xinbao Electrical    Confidentiality   NDA                    $0.00        Appliances
      Inc.           Appliances Holdings Co. Ltd    Agreements
                     LONGZHOU ROAD
                     LELIU TOWN
                     SHUNDE DISTRICT
                     FOSHAN CITY
                     CHINA
577   Instant Brands ITERABLE, INC.                 Service and       Signed contracts for   $0.00        Housewares
      LLC            71 STEVENSON ST                Supply            IB                                  and
                     SUITE 300                      Agreements                                            Appliances
                     SAN FRANCISCO, CA 94105
592   Instant Brands John Hancock Retirement Plan   Service and       Adoption Agreement     $0.00        Housewares
      Holdings Inc. Services, LLC                   Supply            for OnTarget                        and
                     690 Canton St.                 Agreements        Assignment and                      Appliances
                     Westwood, MA 02090                               Amendment
593   Instant Brands John Hancock Retirement Plan   Service and       Service Agreement      $0.00        Housewares
      Holdings Inc. Services, LLC                   Supply            Assignment and                      and
                     690 Canton St.                 Agreements        Amendment for                       Appliances
                     Westwood, MA 02090                               Retirement Income
                                                                      Plan



                                                         5
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 32 of 43




    #1            Debtor     Counterparty                                                Agreement                    Agreement                           Cure Cost2                  Business
                  Entity                                                                 Type                         Description
   748        Instant Brands MIDEA ELECTRIC                                              Service and                  Tooling Agreement -                 $0.00                    Appliances
              LLC            TRADING (SINGAPORE) CO                                      Supply                       Midea Unibody
                             PTE LTD                                                     Agreements
                             O.19 SAN LE ROAD BEIJIAO
                             SHUNDE
                             FOSHAN CITY 528311
                             CHINA
   749        Instant Brands MIDEA                                                       Service and                  Supply Agreement                    $0.00                   Appliances
              LLC            O.19 SAN LE ROAD BEIJIAO                                    Supply
                             SHUNDE                                                      Agreements
                             FOSHAN CITY 528311
                             CHINA
   820        Instant Brands Oracle America, Inc.                                        Service and                  Ordering Document                   $59,462.45              Housewares
              (Canada)       500 ORACLE PARKWAY                                          Supply                                                                                   and
              Holding Inc.   REDWOOD SHORES, CA                                          Agreements                                                                               Appliances
                             94065
  8363        Instant Brands Pancal Sycamore Canyon 257                                  Real Property                Consent to Sublease                 $0.00                    Appliances
              Holdings Inc. LLC                                                          Leases                       2325 Cottonwood,
                             600 WASHINGTON                                                                           Riverside
                             AVENUE, SUITE 1100
                             ST. LOUIS, MO 63101
  8373        Instant Brands Pancal Sycamore Canyon 257                                  Real Property                2nd Amendment to                    $0.00                    Appliances
              Holdings Inc. LLC                                                          Leases                       Lease - (Cottonwood,
                             600 WASHINGTON                                                                           Riverside) 3.23.22
                             AVENUE, SUITE 1100
                             ST. LOUIS, MO 63101



           3
             The Counterparty, Pancal Sycamore Canyon, filed an objection [Docket No. 417] asserting Cure Costs in the aggregate amount of at least $85,254.42. The Debtors are in the process of
reconciling these Cure Costs with the Counterparty and all rights are reserved.




                                                                                                  6
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 33 of 43




 #1        Debtor     Counterparty                 Agreement       Agreement             Cure Cost2     Business
            Entity                                 Type            Description
8383   Instant Brands PANCAL SYCAMORE              Real Property   First Amendment to    $0.00        Appliances
       LLC            CANYON 257 LLC               Leases          Lease
                      600 WASHINGTON
                      AVENUE, SUITE 1100
                      ST. LOUIS, MO 63101
8393   Instant Brands PanCal Sycamore Canyon 257   Real Property   Lease Agreement       $71,468.42   Appliances
       LLC            LLC                          Leases
                      600 WASHINGTON
                      AVENUE, SUITE 1100
                      ST. LOUIS, MO 63101
918    Instant Brands Quick Hand Logistics Inc.    Real Property   2325 Cottonwood       $0.00        Housewares
       Holdings Inc. 1420 E. COOLEY DR. SUITE      Leases          Avenue, Riverside,                 and
                      206                                          CA - Sublease                      Appliances
                      ATTENTION: JUAN C.                           (Execution)
                      RODRIGUEZ
                      COLTON, CA 92324
977    Instant Brands Robert Rose Inc.             License         Trademark License     $0.00        Appliances
       Inc.           120 EGLINTON AVE. EAST       Agreements      for Baby Food
                      SUITE 800                                    Cookbook
                      ATTN: ROBERT J. DEES
                      TORONTO, ON M4P 1E2
                      CANADA
978    Instant Brands Robert Rose Inc.             License         Trademark License     $0.00        Appliances
       Inc.           120 EGLINTON AVE. EAST       Agreements      for Vortex Cookbook
                      SUITE 800
                      ATTN: ROBERT J. DEES
                      TORONTO, ON M4P 1E2
                      CANADA




                                                        7
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 34 of 43




    #1            Debtor     Counterparty                                                 Agreement                    Agreement                            Cure Cost2                  Business
                  Entity                                                                  Type                         Description
   979        Instant Brands Robert Rose                                                  License                      Trademark License                    $0.00                    Appliances
              LLC            120 EGLINTON AVE. EAST                                       Agreements                   Agreement
                             SUITE 800
                             ATTN: ROBERT J. DEES
                             TORONTO, ON M4P 1E2
                             CANADA
  9904        Instant Brands salesforce.com, inc.                                         IT Agreements                Commerce Cloud                       $31,894.00               Housewares
              LLC            ATTN: TODD MACHTMES,                                                                                                                                    and
                             GENERAL COUNSEL                                                                                                                                         Appliances
                             415 MISSION STREET, 3RD
                             FLOOR
                             SAN FRANCISCO, CA 94105
  1005        Instant Brands Sara Shakeel Limited                                         License                      Joint Promotion                      $0.00                    Housewares
              LLC            ATTN: SARA SHAKEEL &                                         Agreements                   Agreement                                                     and
                             ANUM BASHIR                                                                                                                                             Appliances
                             PRINCIPAL TOWERS
                             2702 WORSHIP STREET,
                             SHOREDITCH
                             LONDON EC2A 2FE
                             UNITED KINGDOM
  1006        Instant Brands Sara Shakeel Limited                                         Service and                  Agreement_IB x SS                    $0.00                    Housewares
              LLC            ATTN: SARA SHAKEEL &                                         Supply                                                                                     and
                             ANUM BASHIR                                                  Agreements                                                                                 Appliances
                             PRINCIPAL TOWERS
                             2702 WORSHIP STREET,
                             SHOREDITCH
                             LONDON EC2A 2FE
                             UNITED KINGDOM

           4
             The Counterparty, Salesforce, Inc., contacted Debtors' counsel to dispute the Cure Costs proposed in the Original Potential Assumed Contracts Schedule and asserted Cure Costs in the
aggregate amount of $478,031.36. The Debtors are in the process of reconciling these Cure Costs with the Counterparty and all rights are reserved.




                                                                                                   8
                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 35 of 43




 #1        Debtor     Counterparty                  Agreement     Agreement             Cure Cost2    Business
           Entity                                   Type          Description
1023   Instant Brands Securitas Security Services   Service and   Securitas Riverside   $0.00        Appliances
       LLC            USA, Inc.                     Supply        Amendment SRS-
                      6327 NORTH AVONDALE           Agreements    INVENTO21092211
                      2ND FLOOR                                   160
                      CHICAGO, IL 60631-1958
1024   Instant Brands Securitas Security Services   Service and   Amendment             $0.00        Housewares
       LLC            USA, Inc.                     Supply                                           and
                      6327 NORTH AVONDALE           Agreements                                       Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1025   Instant Brands Securitas Security Services   Service and   Master Security       $0.00        Housewares
       LLC            USA, Inc.                     Supply        Services Agreement                 and
                      6327 NORTH AVONDALE           Agreements                                       Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1026   Instant Brands Securitas Security Services   Service and   Service Agreement -   $0.00        Housewares
       LLC            USA, Inc.                     Supply        2010                               and
                      6327 NORTH AVONDALE           Agreements                                       Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1027   Instant Brands Securitas Securjy Services    Service and   Securitas GN 010123   $0.00        Housewares
       LLC            USA, Inc                      Supply                                           and
                      6327 NORTH AVONDALE           Agreements                                       Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1028   Instant Brands Securitas Services USA Inc    Service and   Securitas Riverside   $0.00        Housewares
       LLC            6327 NORTH AVONDALE           Supply        010123                             and
                      2ND FLOOR                     Agreements                                       Appliances
                      CHICAGO, IL 60631-1958



                                                         9
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 36 of 43




    #1            Debtor     Counterparty                                                 Agreement                     Agreement                           Cure Cost2                  Business
                  Entity                                                                  Type                          Description
  1054        Instant Brands Smart Paint                                                  Service and                   Exhibit B - Revised                 $0.00                    Appliances
              LLC            6171-D Huntley Rd                                            Supply
                             COLUMBUS, OH 43229                                           Agreements


  1055        Instant Brands SmartPaint                                                   Confidentiality               Mutual NDA                          $0.00                    Appliances
              LLC            6171-D Huntley Rd                                            Agreements
                             COLUMBUS, OH 43229


  1056        Instant Brands SmartPaint                                                   Service and                   Retainer                            $0.00                    Appliances
              (Canada)       6171-D Huntley Rd                                            Supply
              Holding Inc.   COLUMBUS, OH 43229                                           Agreements


 11145 Instant Brands SuccessFactors, Inc.                                                IT Agreements                 3062390541 (R)                      $0.00                    Housewares
       LLC            1 TOWER PLACE                                                                                     5.17.2023 V1 FRP                                             and
                      SUITE 1100                                                                                        2023 - 2024                                                  Appliances
                      SOUTH SAN FRANCISCO,
                      CA 94080
 1162 Instant Brands Thinnovations, LLC dba                                               License                       Product Development $0.00                                    Appliances
       (Canada)       SmartPaint                                                          Agreements                    and Licensing
       Holding Inc.   6171-D HUNTLEY RD.                                                                                Agreement
                      ATTN: ANDY DICKSON
                      COLUMBUS, OH 43229




           5
             The Counterparty, SAP America, and its affiliates Concur Technologies, Inc. and SuccessFactors, Inc., contacted Debtors' counsel to dispute the Cure Costs proposed in the Original
Potential Assumed Contracts Schedule. The Debtors have reconciled this amount and have updated the proposed Cure Costs accordingly.




                                                                                                  10
                                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 37 of 43




    #1            Debtor     Counterparty                                                 Agreement                    Agreement                           Cure Cost2                  Business
                  Entity                                                                  Type                         Description
  1170        Instant Brands TOPIM INTELLIGENT                                            Service and                  Supply Agreement                    $1,092,091.00            Appliances
              LLC            MANUFACTURING (SHAO                                          Supply                       (EPC)
                             YANG) CO., LTD                                               Agreements
                             TOPIM INTELLIGENT
                             MANUFACTURING
                             INDUSTRIAL PARK
                             BAIMA AVENUE, SHUANG
                             QING DISTRICT
                             SHAO YANG CITY
                             HUNAN PROVINCE
                             CHINA
  1199        Instant Brands United Legwear Company LLC                                   Real Property                Sublease                            $0.00                    Appliances
              Holdings Inc. 117 SUNFIELD AVENUE                                           Leases
                             EDISON, NJ 08837

  1276        Instant Brands BlackLine Systems, Inc.                                      IT Agreements                Amendment Order                     $0.00                    Housewares
              Holdings Inc. 21300 VICTORY BLVD.                                                                        Form                                                         and
                             12TH FLOOR                                                                                                                                             Appliances
                             ATTN: LEGAL
                             DEPARTMENT
                             WOODLAND HILLS, CA
                             91367
  1301        Instant Brands Zhejiang Aishida Household                                   Service and                  Supply Agreement                    $0.00                    Appliances
              Inc.           Equipment Co., Ltd.                                          Supply
                             NO.69 HUANGHE ROAD                                           Agreements
                             JIASHAN 314100
                             CHINA


          6
            The Counterparty, Blackline Systems Inc., filed an objection [Docket No. 398] asserting Cure Costs in the aggregate amount of $155,000. The Debtors are in the process of reconciling these
Cure Costs with the Counterparty and all rights are reserved.




                                                                                                 11
                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 38 of 43




 #1        Debtor     Counterparty                 Agreement     Agreement              Cure Cost2     Business
           Entity                                  Type          Description
1302   Instant Brands Zhejiang Aishida Household   Service and   Tooling Agreement      $0.00        Appliances
       LLC            Equipment Co., Ltd.          Supply
                                                   Agreements

1306   Instant Brands Zhejiang Tianxi Kitchen      Service and   6QT Slim Plastic Air   $0.00        Appliances
       LLC            Appliance Co, Ltd            Supply        Fryer Tooling
                      No. 8,Shanyan Road, Huzhen   Agreements    Agreement
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA
1307   Instant Brands Zhejiang Tianxi Kitchen      Service and   Tooling Agreement      $0.00        Appliances
       LLC            Appliance Co, Ltd            Supply
                      No. 8,Shanyan Road, Huzhen   Agreements
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA
1308   Instant Brands Zhejiang Tianxi Kitchen      Service and   Supply Agreement       $0.00        Appliances
       Inc.           Appliance Co., Ltd           Supply
                      No. 8,Shanyan Road, Huzhen   Agreements
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA




                                                       12
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 39 of 43




 #1        Debtor     Counterparty                 Agreement     Agreement           Cure Cost2    Business
           Entity                                  Type          Description
1309   Instant Brands Zhejiang Tianxi Kitchen      Service and   097 VersaZone 9qt   $0.00        Appliances
       LLC            Appliance Co., Ltd           Supply        SS CC_Tooling
                      No. 8,Shanyan Road, Huzhen   Agreements    Agreement
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA
1310   Instant Brands Zhejiang Tianxi Kitchen      Service and   IN23-005 13QT AFO   $0.00        Appliances
       LLC            Appliance Co., Ltd           Supply        Tooling Agreement
                      No. 8,Shanyan Road, Huzhen   Agreements
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA
1311   Instant Brands Zhejiang Tianxi Kitchen      Service and   Tooling Agreement   $0.00        Appliances
       LLC            Appliance Co., Ltd           Supply
                      No. 8,Shanyan Road, Huzhen   Agreements
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province

                      CHINA
1312   Instant Brands Zhejiang Tianxi Kitchen      Service and   Manufacturing and   $0.00        Appliances
       Inc.           Appliance Co., Ltd.          Supply        Supply Agreement
                      No. 8,Shanyan Road, Huzhen   Agreements
                      Town
                      Jinyun County, Lishui City
                      Zhejiang Province
                      CHINA


                                                       13
                    Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 40 of 43




 #1        Debtor     Counterparty                  Agreement     Agreement             Cure Cost2    Business
           Entity                                   Type          Description
1313   Instant Brands Zhong Shan Rnice Electronic   Service and   Tooling agreement     $0.00        Appliances
       LLC            Co., Ltd                      Supply        Rnice Duo WB
                      NO. 17 TONGJI WEST            Agreements
                      ROAD, NANTOU TOW
                      ZHONG SHAN 528427
                      CHINA
1314   Instant Brands Zhong Shan Rnice Electronic   Service and   Tooling Agreement     $0.00        Appliances
       LLC            Co., Ltd                      Supply
                      NO. 17 TONGJI WEST            Agreements
                      ROAD, NANTOU TOW
                      ZHONG SHAN 528427
                      CHINA
1315   Instant Brands Zhong Shan Rnice Electronic   Service and   Tooling Amortization $0.00         Appliances
       LLC            Co., Ltd                      Supply        _Superior Slow Cook
                      NO. 17 TONGJI WEST            Agreements    er
                      ROAD, NANTOU TOW
                      ZHONG SHAN 528427
                      CHINA
1364   Instant Brands CPG Retail - Target           Customer      CPG Vendor            $0.00        Housewares
       LLC            THE CREATIVE PARTNERS         Agreements    Agreement Terms                    and
                      GROUP                                       dated 2022 07 14                   Appliances
                      88 SOUTH 10TH ST - STE 100
                      MINNEAPOLIS, MN 55403
1371   Instant Brands DemandPDX LLC                 Service and   Shopify Replatform    $0.00        Housewares
       LLC            ATTN: CHRIS BERGEMANN         Supply        SOW v4                             and
                      1000 S.W. BROADWAY            Agreements                                       Appliances
                      SUITE 1140
                      PORTLAND, OR 97205
1419   Instant Brands Securitas Security Services   Service and   Addendum Rate         $0.00        Housewares
       LLC            USA, Inc.                     Supply        Sheet 5 sites dated                and
                      6327 NORTH AVONDALE           Agreements    2019 02 04                         Appliances


                                                        14
                     Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 41 of 43




 #1       Debtor      Counterparty                  Agreement     Agreement              Cure Cost2     Business
          Entity                                    Type          Description
                      2ND FLOOR
                      CHICAGO, IL 60631-1958

1420   Instant Brands Securitas Security Services   Service and   Addendum Securitas     $0.00         Housewares
       LLC            USA, Inc.                     Supply        Charleroi dated 2022                 and
                      6327 NORTH AVONDALE           Agreements    01 01                                Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1421   Instant Brands Securitas Security Services   Service and   Byhalia Wage           $0.00         Housewares
       LLC            USA, Inc.                     Supply        Addendum dated                       and
                      6327 NORTH AVONDALE           Agreements    2023 01 01                           Appliances
                      2ND FLOOR
                      CHICAGO, IL 60631-1958
1441   Instant Brands Workday, Inc.                 Service and   Main Subscription      $217,343.00   Housewares
       LLC            DEPT LA 23246                 Supply        Agreement                            and
                      PASADENA, CA 91706-1300       Agreements                                         Appliances
1442   Instant Brands Workday, Inc.                 Service and   Order Form             $0.00         Housewares
       LLC            DEPT LA 23246                 Supply        00345473.0                           and
                      PASADENA, CA 91706-1300       Agreements                                         Appliances
N/A    Instant Brands The Creative Partners Group   Sales Rep     Independent Sales      $22,230.96    Housewares
       LLC                                          Agreement     Representative                       and
                                                                  Agreement dated                      Appliances
                                                                  June 1, 2019, as
                                                                  amended April 1,
                                                                  2020
N/A    Instant Brands DemandPDX LLC                 Services      Services Agreement     $0.00         Housewares
       LLC                                          Agreement     dated July 11, 2022                  and
                                                                  (Shopify)                            Appliances




                                                        15
Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 42 of 43




                                Exhibit C

Schedule of Additional Proposed Assumed Contracts or Modified Cure Amounts
                                      Case 23-90716 Document 612 Filed in TXSB on 09/28/23 Page 43 of 43




    #1            Debtor     Counterparty                                                  Agreement                     Agreement                           Cure Cost2                   Business
                  Entity                                                                   Type                          Description
   N/A        Instant Brands The Creative Partners Group                                   Sales                         Independent Sales                   $7,578.01                 Housewares
              LLC            ATT: GRAHAM OSULLIVAN                                         Representative                Representative                                                and
                             THE PRIORY, JOHN STREET                                       Agreement                     Agreement dated                                               Appliances
                             WEST                                                                                        June 1, 2019, as
                             DUBLIN 8                                                                                    amended April 1,
                             IRELAND                                                                                     2020
   N/A        Instant Brands           DemandPDX LLC                                       Services                      Services Agreement                  $0.00                     Housewares
              LLC                                                                          Agreement                     dated July 11, 2022                                           and
                                                                                                                         (Shopify)                                                     Appliances
   299        Instant Brands           Curzon Company                                      Service and                   Sales Representative                $869.38                   Housewares
              LLC                      7110 SW BEVELAND STREET                             Supply                        Agreement                                                     and
                                       TIGARD, OR 97223                                    Agreements                                                                                  Appliances
   471        Instant Brands           Guangdon Xinbao Electrical                          Service and                   3-1 Coffee                          $4,233.60                 Appliances
              LLC                      Appliance Holdings Co., Ltd                         Supply                        Development
                                       LONGZHOU ROAD                                       Agreements                    Agreement
                                       LELIU TOWN
                                       SHUNDE DISTRICT
                                       FOSHAN CITY
                                       CHINA




           1
             The numbers in this column identifying the contracts and leases listed on this schedule refer to the corresponding numbers for such contracts and leases set forth on the First Amended
Potential Assumed Contracts Schedule attached to the Notice of First Amended Scheduled of Potential Assumption and Assignment of Executory Contracts or Unexpired Leases and Cure Amount
[Docket No. 492].

           2
             Cure Costs comprise prepetition amounts owed as of June 11, 2023 on account of the Counterparties' contracts or leases according to the Debtors' books and records modified to reflect (i)
invoices for prepetition goods delivered or services provided that the Debtors processed subsequent to June 11, 2023 and (ii) payments made on account of prepetition obligations pursuant to orders
entered by the Court.
